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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Daryl Kirkland, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:11−cv−07285
                                                      Honorable Jeffrey T. Gilbert
Steven Sigalove, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 25, 2015:


       MINUTE entry before the Honorable Jeffrey T. Gilbert: Jury trial held on
2/25/2015. Jury trial ends. The jury finds for the Defendants, Steven Sigalove, M.D. and
DuPage Medical Group, Individually and d/b/a The Institute for Aesthetic Surgery, a
Corporation, and against the Plaintiffs, Daryl Kirkland and Judy Kirkland. Civil case
terminated. Mailed notice (ber, )




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